                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE

                                                           )
   JAMES R. WALTON and HELEN R.                            )
   WALTON,                                                 )
                                                           )
           Plaintiffs,                                     )
                                                           )
   v.                                                      )   No. 1:17-mc-00330-TRM-SKL
                                                           )
   CARRINGTON MORTGAGE SERVICES,                           )
   LLC, BANK OF AMERICA, and TAYLOR,                       )
   BEAN & WHITAKER,                                        )
                                                           )
           Defendants.                                     )


                   CARRINGTON MORTGAGE SERVICES, LLC’S ANSWER
                        TO PLAINTIFFS’ AMENDED COMPLAINT



         COMES NOW, Defendant Carrington Mortgage Services, LLC (“Carrington”), and

  submits this answer to Plaintiffs James and Helen Walton’s Amended Complaint [R. 11].

                                             Nature of Case

         1.      The allegations in Paragraph No. 1, as to wrongful foreclosure, fraudulent

  document submission, duel tracking, and invalid assignment of the Deed of Trust, constitute legal

  conclusions to which no response is required. To the extent a response is required, the allegations

  in Paragraph No. 1 are denied. The remaining allegation regarding damages constitutes a prayer

  for relief to which no response is required. Carrington denies that Plaintiff is entitled to the relief

  requested in Paragraph No. 1.

         2.      Carrington admits that on October 3, 2008, Plaintiffs James and Helen Walton

  obtained a loan from Taylor, Bean & Whitaker Mortgage Corp. (“TBW”) in the amount of

  $277,148.00, as evidenced by Plaintiffs’ execution of the promissory note (the “Note”), associated




Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 1 of 10 PageID #: 100
  with the purchase of real property located at 1301 Winbrook Lane, Hixon, Tennessee 37343 (the

  “Property”). Carrington admits Plaintiffs executed a Deed of Trust (the “Deed of Trust”) (the Note

  and Deed of Trust are referred to collectively as the “Loan”), which identified Mortgage Electronic

  Registration Systems, Inc. (“MERS”) as nominee for Lender and Lender’s successors and assigns

  and as the beneficiary of the Deed of Trust. [The Note and Deed of Trust are attached hereto as

  Exhibits A and B, respectively].       Carrington denies Plaintiffs’ interpretation of Mortgage

  Electronic Registration Systems, Inc. v. Ditto, 488 S.W.3d 265 (Tenn. 2015), as it applies here.

  Ditto involved whether MERS, as the beneficiary solely as nominee for the lender and its assigns,

  had the right to receive notice of a tax sale under Tennessee Code Annotated Section 67–52504(c).

  In Ditto, the Tennessee Supreme Court did not “question MERS’s authority to act as agent for the

  lender and any successor lenders,” and found that “Tennessee courts have approved MERS’s

  authority to . . . assign a mortgage as nominee for the lender.” 488 S.W.3d at 290–91. Except as

  specifically admitted, Carrington denies the allegations in Paragraph No. 2.

         3.      Carrington admits that TBW endorsed the Note “in blank.” Except as specifically

  admitted, Carrington denies the allegations in Paragraph No. 3.

         4.      The allegations contained in Paragraph No. 4, including subparts (a) and (b), are

  not directed at Carrington and therefore do not require a response. To the extent that the allegations

  are directed at Carrington, Carrington denies the allegations in Paragraph No. 4 for lack of

  information.

         5.      The allegations contained in Paragraph No. 5, including subparts (a) and (b), are

  not directed at Carrington and therefore do not require a response. To the extent that the allegations

  are directed at Carrington, Carrington denies the allegations in Paragraph No. 5 for lack of

  information.



                                                    2

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 2 of 10 PageID #: 101
            6.    Upon information and belief, Carrington admits that on August 24, 2004, TBW

  filed for Chapter 11 bankruptcy in the United States Bankruptcy Court for the Northern District of

  Florida.

            7.    The allegations contained in Paragraph No. 7 are not directed at Carrington and

  therefore do not require a response. To the extent that the allegations are directed at Carrington,

  Carrington denies the allegations in Paragraph No. 7 for lack of information.

            8.    The allegations contained in Paragraph No. 8 are not directed at Carrington and

  therefore do not require a response. To the extent that the allegations are directed at Carrington,

  Carrington denies the allegations in Paragraph No. 8 for lack of information.

            9.    Carrington admits that on September 28, 2011, Mortgage Electronic Registration

  Systems, Inc. assigned the Deed of Trust to Bank of America, N.A. (“BANA”), Successor by

  merger to BAC Home Loans Servicing, LP f/k/a/ Countrywide Home Loans Servicing, LP. [The

  First Assignment of the Deed of Trust is attached hereto as Exhibit C]. Except as specifically

  admitted, Carrington denies the allegations in Paragraph No. 9.

            10.   Carrington admits that on October 11, 2011, the First Assignment of the Deed of

  Trust was recorded with the Hamilton County Register of Deed’s office as Instrument No.

  2011101100186. Except as specifically admitted, Carrington denies the allegations in Paragraph

  No. 10.

            11.   Carrington admits that on November 17, 2014, BANA assigned the Deed of Trust

  to Carrington. [The Second Assignment of the Deed of Trust is attached hereto as Exhibit D].

  The remaining allegations in Paragraph No. 11 constitute legal conclusions to which no response

  is required. To the extent a response is required, the allegations in Paragraph No. 11 are denied.

  Except as specifically admitted, Carrington denies the allegations in Paragraph No. 11.



                                                  3

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 3 of 10 PageID #: 102
            12.   Carrington denies the allegations in Paragraph No. 12.

            13.   Carrington admits that on November 24, 2014, the Second Assignment of the Deed

  of Trust was recorded with the Hamilton County Register of Deed’s office as Instrument No.

  2014112400141. Except as specifically admitted, Carrington denies the allegations in Paragraph

  No. 13.

            14.   Carrington admits that on September 7, 2017, Robert J. Solomon, as Substitute

  Trustee, conducted a foreclosure sale of the Property. [The Substitute Trustee’s Deed is attached

  hereto as Exhibit E]. Except as specifically admitted, Carrington denies the allegations in

  Paragraph No. 14.

            15.   Carrington denies that the Deed of Trust was not assigned to BANA. [See Exhibit

  C]. Carrington admits that on September 28, 2011, MERS assigned the Deed of Trust to BANA.

  Carrington admits that on November 17, 2014, BANA assigned the Deed of Trust to Carrington.

  Carrington denies that BANA assigned the Note to Carrington. Except as specifically admitted,

  Carrington denies the allegations in Paragraph No. 15.

            16.   Carrington denies that the Deed of Trust was not validly assigned. Carrington

  admits that on September 28, 2011, MERS assigned the Deed of Trust to BANA. Carrington

  admits that on November 17, 2014, BANA assigned the Deed of Trust to Carrington. Carrington

  denies that it lacked standing to foreclose on the Property. Except as specifically admitted,

  Carrington denies the allegations in Paragraph No. 15.

                                               Count I

            17.   Carrington restates and incorporates by reference its answers to Paragraph Nos. 1

  through 16 of the Amended Complaint.




                                                  4

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 4 of 10 PageID #: 103
         18.     Carrington admits that when a note is sold on the secondary market, MERS serves

  as “the mortgagee of record (thereby avoiding recording and other transfer fees that are otherwise

  associated with the sale) and continues to act as an agent for the new owner of the promissory

  note,” Ellington v. Fed. Home Loan Mortg. Corp., 13 F. Supp. 3d 723, 725 (W.D. Ky. 2014).

  Carrington further admits that “[c]ourts have consistently upheld the validity of MERS’s role as

  nominee for a promissory note’s lenders and assigns, and as beneficiary under a deed of trust,”

  Phillips v. Nationstar Mortg., LLC, 3:13-CV-01414, 2016 WL 2866164, at *6 (M.D. Tenn. May

  17, 2016). Except as specifically admitted, Carrington denies the allegations in Paragraph No. 18.

         19.     The allegations contained in Paragraph No. 19 are not directed at Carrington and

  therefore do not require a response. To the extent that the allegations are directed at Carrington,

  Carrington denies the allegations in Paragraph No. 19 for lack of information.

         20.     Carrington admits that on April 16, 2013, Plaintiffs executed a loan modification

  agreement with BANA. [The Loan Modification Agreement is attached hereto as Exhibit F]. The

  remaining allegations contained in Paragraph No. 20 are not directed at Carrington and therefore

  do not require a response. To the extent that the allegations are directed at Carrington, Carrington

  denies the allegations in Paragraph No. 20 for lack of information.

         21.     The allegations contained in Paragraph No. 21 are not directed at Carrington and

  therefore do not require a response. To the extent that the allegations are directed at Carrington,

  Carrington denies the allegations in Paragraph No. 21 for lack of information.

         22.     The allegations contained in Paragraph No. 22 are not directed at Carrington and

  therefore do not require a response. To the extent that the allegations are directed at Carrington,

  Carrington denies the allegations in Paragraph No. 22 for lack of information.




                                                   5

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 5 of 10 PageID #: 104
          23.     Carrington denies that securitization of the Note constitutes fraud on Plaintiffs or

  the Court. “[S]ecuritization of a note does not alter the borrower’s obligation to repay the loan.

  Securitization is a separate contract, distinct from the borrower's debt obligations under the note.”

  Thompson v. Bank of America, N.A., 773 F.3d 741, 749 (6th Cir. 2014). Courts have consistently

  rejected claims based on securitization of the Note, finding that the “debt obligations and the note

  holder’s standing to enforce those obligations remain intact and unaffected by the securitization or

  assignment of the mortgage.” Johnson v. Broker Sols., Inc., 3:15-CV-00047, 2015 WL 4469276,

  at *3 (M.D. Tenn. July 22, 2015); Renfroe v. Flagstar Bank, 14-2914-STA-DKV, 2015 WL

  3407361, at *4 (W.D. Tenn. Mar. 2, 2015) (dismissing plaintiffs’ claims based on securitization

  of the note).

                                               Count II

          24.     Carrington admits that on October 14, 2016, Plaintiffs filed for Chapter 13

  Bankruptcy in the Eastern District of Tennessee, Case No. 1:16-bk-14437-NWW in which they

  were represented by Mark T. Young, 2895 Northpoint Blvd, Hixon, Tennessee 37343.                  In

  Plaintiffs’ Chapter 13 Plan, Plaintiffs agreed to surrender the Property to Carrington in exchange

  for full satisfaction of the debt. The bankruptcy court confirmed Plaintiffs’ Chapter 13 Plan on

  January 4, 2017. [Plaintiffs’ Chapter 13 Plan is attached hereto as Exhibit G]. When Carrington

  sought relief from the automatic stay after confirmation of the Plaintiffs’ Chapter 13 Plan, the

  Court denied Carrington’s motion “because the relief requested was granted by the order

  confirming the debtor’s chapter 13 plan.” [May 25, 2017 Order is attached hereto as Exhibit H].

  Plaintiffs made no payments to Carrington during Plaintiffs’ Chapter 13 bankruptcy.             The

  bankruptcy court dismissed Plaintiffs’ Chapter 13 bankruptcy on January 4, 2018. [Chapter 13

  Trustee’s Final Report is attached hereto as Exhibit I]. “Under 11 U.S.C. § 1327(a), confirmation



                                                   6

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 6 of 10 PageID #: 105
  of a Chapter 13 plan is, in effect, an adjudication of litigation over the issues of the classification

  and treatment of claims provided for in a proposed Chapter 13 plan, and is res judicata on those

  issues.” Lewis v. Countrywide Home Loans, 09-11093, 2009 WL 2777005, at *2 (E.D. Mich. Aug.

  27, 2009). In Lewis, the plaintiff agreed to surrender the property in the Chapter 13 bankruptcy

  and the district court dismissed plaintiff’s claims against Countrywide based on res judicata,

  explaining that the “[p]laintiff could have asserted this claim in the earlier bankruptcy proceeding,

  but elected not to do so.” See Lewis, 2009 WL 2777005, at *2. Except as specifically admitted,

  Carrington denies the allegations in Paragraph No. 24.


                                                Count III

          25.      Carrington lacks sufficient information regarding whether Plaintiffs incurred debt

  or what debt Plaintiffs allegedly incurred as a result of the foreclosure, and therefore denies the

  same.


                                                Count IV

          26.      Carrington denies that title to the Property has been clouded. Carrington admits

  that Plaintiffs agreed in their Chapter 13 bankruptcy to surrender the Property to Carrington.

  Carrington denies that Plaintiffs could have been harmed when they agreed to surrender the

  Property in their Chapter 13 bankruptcy. Except as specifically admitted, Carrington denies the

  allegations in Paragraph No. 24.

                                           Relief Requested

                   a.     The allegations in Paragraph (a) constitute a prayer for relief to which no

  response is required. Carrington denies that Plaintiffs are entitled to the relief requested in

  Paragraph (a).



                                                    7

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 7 of 10 PageID #: 106
                   b.    The allegations in Paragraph (b) constitute a prayer for relief to which no

  response is required. Carrington denies that Plaintiffs are entitled to the relief requested in

  Paragraph (b).

                   c.    The allegations in Paragraph (c) constitute a prayer for relief to which no

  response is required. Carrington denies that Plaintiffs are entitled to the relief requested in

  Paragraph (c).

                   d.    The allegations in Paragraph (d) constitute a prayer for relief to which no

  response is required. Carrington denies that Plaintiffs are entitled to the relief requested in

  Paragraph (d).

                   e.    The allegations in Paragraph (e) constitute a prayer for relief to which no

  response is required. Carrington denies that Plaintiffs are entitled to the relief requested in

  Paragraph (e).

                                FIRST AFFIRMATIVE DEFENSE

         Plaintiffs fail to state a claim upon which relief may be granted against Carrington.

                               SECOND AFFIRMATIVE DEFENSE

         Plaintiffs’ claims may be barred, in whole or in part, under the applicable statute of

  limitations and/or the doctrine of laches.

                                THIRD AFFIRMATIVE DEFENSE

         Plaintiffs’ claims are barred by res judicata because the Plaintiffs agreed to surrender the

  Property in theeir Chapter 13 bankruptcy.      See Lewis, 2009 WL 2777005, at *2 (dismissing

  plaintiff’s claims against Countrywide based on res judicata, explaining that the “[p]laintiff could

  have asserted this claim in the earlier bankruptcy proceeding, but elected not to do so”).




                                                   8

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 8 of 10 PageID #: 107
                                 FOURTH AFFIRMATIVE DEFENSE

            Plaintiffs failed to mitigate any damages allegedly sustained. As such, any damages

  actually sustained by Plaintiffs should be reduced proportionally for the failure to mitigate such

  losses.

                                   FIFTH AFFIRMATIVE DEFENSE

            Plaintiffs lack standing to assert one or more of their claims.

                                   SIXTH AFFIRMATIVE DEFENSE

            Plaintiffs are barred from recovering punitive damages in excess of those limits

  established by applicable Tennessee statutory and case law.

                                SEVENTH AFFIRMATIVE DEFENSE

            Carrington pleads the defense of setoff and recoupment.

                                 EIGHTH AFFIRMATIVE DEFENSE

            Carrington expressly reserves the right to assert such other and further affirmative and

  additional defenses as may be established during discovery and investigation and by the evidence

  in this case.




                                                      9

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 9 of 10 PageID #: 108
                                               Respectfully submitted,

                                               BRADLEY ARANT BOULT CUMMINGS LLP


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                                                       Services, LLC




                                  CERTIFICATE OF SERVICE

           I hereby certify that on March 26, 2018, a copy of the foregoing was filed electronically
  with the Clerk’s office by using the CM/ECF system and served electronically and/or via first-
  class U.S. mail, postage prepaid, upon all counsel as indicated below. Parties may also access this
  filing through the Court’s ECF system.

          James R. Walton                           Taylor, Bean & Whitaker
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                                             /s/ Brian R. Epling
                                             Brian R. Epling




                                                  10

Case 1:17-cv-00330-TRM-SKL Document 22 Filed 03/26/18 Page 10 of 10 PageID #: 109
